                                                        Entered on Docket
                                                        January 28, 2019
                                                        EDWARD J. EMMONS, CLERK
                                                        U.S. BANKRUPTCY COURT
      MICHELSON LAW GROUP                               NORTHERN DISTRICT OF CALIFORNIA
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 4                                                    ________________________________________
      Attorneys for Liquidating Trustee               DENNIS MONTALI
 5    Randy Sugarman                                  U.S. Bankruptcy Judge

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 7
                                UNITED STATES BANKRUPTCY COURT
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                                 NORTHERN DISTRICT OF CALIFORNIA
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      In re                                                Case No. 16-30063 DM
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      YELLOW CAB COOPERATIVE, INC.,                        Chapter 11
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                              Debtor.                      ORDER SUSTAINING IN PART AND
13                                                         DENYING IN PART LIQUIDATING
14                                                         TRUSTEE’S OBJECTION TO CLAIM
                                                           BY AUTOMOTIVE INDUSTRIES
15                                                         HEALTH & WELFARE TRUST FUND
                                                           AND AUTOMOTIVE INDUSTRIES
16                                                         PENSION FUND (CLAIM NO. 290)
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              The Liquidating Trustee’s objection (the “Objection”) to the claim of Automotive
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     Industries Health & Welfare Trust Fund and Automotive Industries Pension Fund (together,
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     “Claimants”) came on for hearing on January 18, 2019. Tino X. Do appeared on behalf the
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     Claimants. Randy Michelson appeared on behalf of the Liquidating Trustee. The Liquidating
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     Trustee, Randy Sugarman, was present.
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              For the reasons stated on the record:
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              1.     Except as is set forth in in Paragraph 2, below, the Objection is sustained and
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                     Claimants’ alleged claim and administrative expense are disallowed; and
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28     ORDER SUSTAINING IN PART AND DENYING IN PART LIQUIDATING TRUSTEE’S OBJECTION TO CLAIM BY
       AUTOMOTIVE INDUSTRIES HEALTH & WELFARE TRUST FUND AND AUTOMOTIVE INDUSTRIES PENSION
                                         FUND (CLAIM NO. 290)
                                                  1
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 1                                 COURT SERVICE LIST
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         ORDER SUSTAINING LIQUIDATING TRUSTEE’S OBJECTION TO CLAIM BY OCTAVIUS NASH
                                       (CLAIM NO. 286)
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